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                                                                        RECEIVED
                  IN THE UNITED STATES DISTRICT COURT                          AUG 272009
                   FOR THE SOUTHERN DISTRICT OF IOWA
                                                                        CLERK, U.S. DISTRICT COURT
                                                                        SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,
                                              NO. 1:09-cr-00007
            Plaintiff,

     vs.

MILES VICTOR LATHAM,

            Defendant.


REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                 (PLEA AGREEMENT)

            The United States of America and the defendant, having
both filed a written consent to conduct of the plea proceedings by
a magistrate judge, appeared before me pursuant to Fed. R.                       Crim.
P.   11 and LCrR 11.1. The defendant entered a plea of guilty to
Count 1 of the Second Superceding Indictment charging him with
conspiracy to manufacture in excess of 50 grams of methamphetamine,
in viol at i on of Tit 1e   21 U. S . C .    §§   841 (a) (1)   and 841 (b) (1 ) (A) .
After advising and questioning the defendant under oath concerning
each of the subjects addressed in Rule II(b) (1), I determined that
the guilty plea was in its entirety voluntarily,                     knowingly and
intelligently made and did not              resul t   from force,      threats,       or
promises    (other than promises in the plea agreement).                   I   further
determined that there is a factual basis for the guilty plea on
each of the essential elements of the offense(s)                  in question.         A
plea agreement was disclosed at the plea proceeding and defendant
stated he understood its terms and agreed to be bound by them.                        To
the extent the plea agreement is of the type specified in Rule
II(c) (1) (A) or (C) defendant was advised the sentencing judge may
elect to defer acceptance of the plea agreement until after the
sentencing judge has reviewed the presentence report as permitted
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by Rule 11(c) (3) (A).   To the extent the plea agreement is of the
type specified in Rule 11(c) (1) (B) defendant was advised by the
Court that defendant has no right to withdraw the plea if the Court
does not follow a recommendation or request in question.
           I   recommend that the plea(s) of guilty be accepted and
that the defendant be adjudged guilty and have sentence imposed
accordingly.    A presentence report has been ordered and a status
conference scheduled.




                                        Celeste F. Bremer
                                        U.S. Magistrate Judge



                                        DATE:




                                 NOTICE

          Failure to file written objections to this Report and
Recommendation within ten (10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge.
28 U.S.C. § 636(b) (1) (B). The Report and Recommendation was served
this date by delivery of a copy thereof to counsel for the
government and defendant in open court.




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